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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO. 19-24331-BKC-PGH
CHAPTER 13

RALPH LEVI SANDERS, JR.
i

CERTIFICATE OF SERVICE
| HEREBY CERTIFY that a true copy of the following documents were served upon all
interested parties listed on the Service List, in the manner noted therein, on June 22, 2020:

Order Granting Emergency Motion to Withdraw as Attorney of Record (DE 82).

Dated: June 22, 2020 LAW OFFICES OF MICHAEL H. JOHNSON
Attorneys for Debtor(s)
3601 W. Commercial Blvd, Ste 31
Ft. Lauderdale, FL 33309
(954) 535-1131

By:_/s/ Michael H. Johnson
Michael H. Johnson
Florida Bar No. 0149543

| HEREBY CERTIFY THAT | AM ADMITTED TO THE BAR OF THE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF FLORIDA AND | AM IN COMPLIANCE WITH THE
ADDITIONAL QUALIFICATIONS TO PRACTICE IN THIS COURT
SET FORTH IN LOCAL RULE 2090-1(A).
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SERVICE LIST:

VIA CM/ECEF:
Office of the US Trustee
USTPRegion21.MM.ECF @usdoj.gov

Gavin N Stewart on behalf of Creditor Specialized
Loan Servicing LLC
bk@stewartlegalgroup.com

Robin R Weiner
ecf@ch13weiner.com, ecf2@ch1 3weiner.com

VIA U.S. MAIL:

Ralph Levi Sanders, Jr.
561 SW 60" Ave.
Plantation, FL 33317

To all parties on the attached Mailing Matrix

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Label Matrix for local noticing
113c-0

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Southern District of Florida
Fort Lauderdale

Mon Jun 8 22:29:09 EDT 2020

ARS/Account Resolution Specialist
POB 459079
Sunrise, FL 33345-9079

City of Plantation
POB 918557
Orlando, FL 32891-0001

Dr, Ramsey Pevsner
7469 NW 4 St.
Plantation, FL 33317-2216

IRS

Centralized Insolvency Operations
POB 7346

Philadelphia, PA 19101-7346

Marchelle Bailey, Esq.
Special Assistant US Attorney
200 W. Santa Ana Blvd., #180
Santa Ana, CA 92701-4134

Midland Funding
8675 Aero Dr., #200
San Diego, CA 92123-2255

Sprechman & Associates, P.A.
2775 Sunny Isles Blvd., #100
Miami, FL 33160-4078

U.S. Small Business Administration
200 W. Santa Ana Blvd., Suite 740
Santa Ana, CA 92701-7534

Westside Regional Medical Center
Pop 99008
Bedford, TX 76095-9108

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51 SW i Ave #1204
Miami, FL 33130-1614

Albertelli Law
POB 23028
Tampa, FL 33623-2028

City of Plantation Code Enforcement
451 NW 70 Ter,
Plantation, FL 33317-2239

Flagship Credit Acceptance
POB 965
Chadds Ford, PA 19317-0643

Inphynet South Broward, Inc.
POB 740022
Cincinnati, OH 45274-0022

Medical Data Systems (MDS)
2001 9th Ave., #312
Vero Beach, FL 32960-6413

Resurgent Capital Services
POB 1927
Greenville, SC 29602-1927

Tenet Florida Physicians Service
POB 100198
Atlanta, GA 30384-0198

WESTSIDE REGIONAL MEDICAL CENTER
Resurgent Capital Services

PO Box 1927

Greenville, SC 29602-1927

Michael H. Johnson
3601 W. Commercial Blvd. #31
Ft. Lauderdale, FL 33309-3393

PaGpadBabiked Loan Servicing LLC

c/o Gavin Stewart
Pop 5703
Clearwater, FL 33758-5703

(p) CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

Dept of Treasury
3700 East West Highway
Hyattsville, MD 20782-2092

IC Systems, Inc
Attention: Bankruptcy
POB 64378

St Paul, MN 55164-0378

MD Now Medical Center
2007 Palm Beach Lakes Blvd
West Palm Beach, FL 33409-6501

Memorial Physicians Group
POB 58015
Raleigh, NC 27658-8015

Smal] Business Administration
801 Tom Martin Dr., #120
Birmingham, AL 35211-6424

The Bank of New York Mellon Trustee (See 410
c/o Specialized Loan Servicing LLC

9742 Lucent Blvd, Suite 300

Highlands Ranch, Colorado 80129-2386

Wells Fargo Bank, N.A.
1000 Blue Gentian Rd.
N9286-01Y

Eagan, MN 55121-1663

Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, Fl 33317-3947
Robin R Weiner Case 19-24331-PGH Doc 84 Filed 06/22/20 Page 4of4

POB 559007
Fort Lauderdale, FL 33355-9007

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed,R.Bank.P. 2002 (g) (4).

Citibank End of Label Matrix
Attn: Centralized Bankruptcy Mailable recipients 30
POB 20507 Bypassed recipients 0

Kansas City, MO 64195 Total 30
